          Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 1 of 18




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                     Chapter 11

                                                               Case No. 20-33948 (MI)
    FIELDWOOD ENERGY LLC, et al.,
                                                               (Jointly Administered)
                                   Debtors. 1



                                       AFFIDAVIT OF SERVICE

        I, Seth Botos, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the claims, noticing, and solicitation agent for the Debtors in the above-captioned chapter 11 cases.

       On June 1, 2021, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served by the method set forth on the Master Service List
attached here to as Exhibit A:

      •      Stipulation Extending Deadline to Assume or Reject a Certain Nonresidential Real
             Property Lease [Docket No. 1418] (the “Ronnie White Stipulation”)

      •      Stipulation Extending Deadline to Assume or Reject a Certain Nonresidential Real
             Property Lease [Docket No. 1419] (the “Cheyenne Stipulation”)

      •      Debtor-in-Possession Monthly Operating Report for Period Ending April 30, 2021
             [Docket No. 1420]

         On June 1, 2021, at my direction and under my supervision, employees of Prime Clerk
caused the following document to be served by the method set forth on the Fee Application Service
List attached here to as Exhibit B:

      •      Order Approving Second Interim Fee Application of Weil, Gotshal & Manges LLP, as
             Attorneys for the Debtors, for Interim Allowance of Compensation for Professional
             Services Rendered and Reimbursement of Actual and Necessary Expenses Incurred from
             November 1, 2020 through January 31, 2021 [Docket No. 1421]
1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
     Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 2 of 18




       On June 1, 2021, at my direction and under my supervision, employees of Prime Clerk
caused the Ronnie White Stipulation to be served via first class mail on Ronnie White Custom
Homes, L.L.C., 1011 Pleasant Hill School Rd, Brenham, TX 77833-8116.

       On June 1, 2021, at my direction and under my supervision, employees of Prime Clerk
caused the Cheyenne Stipulation to be served via first class mail and email on Cheyenne Services
Limited, Carlos A. Torres, 18713 E. Cool Breeze Ln., Montgomery, TX 77356,
Carlosatorres@yahoo.com.




Dated: June 4, 2021
                                                           /s/ Seth Botos
                                                           Seth Botos
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on June 4, 2021, by Seth Botos, proved to me on the
bases of satisfactory evidence to be the person who executed this affidavit.




                                               2
                                                                                     SRF 54110
Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 3 of 18

                             Exhibit A
                                              Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 4 of 18
                                                                                               Exhibit A
                                                                                           Master Service List
                                                                                        Served as set forth below

                   DESCRIPTION                                 NAME                                   ADDRESS                                    EMAIL             METHOD OF SERVICE
                                                                                    ATTN: WILLIAM J. BOYCE, KEVIN DUBOSE
                                                                                    1844 HARVARD STREET
COUNSEL TO MILORAD RAICEVIC                   ALEXANDER DUBOSE& JEFFERSON LLP       HOUSTON TX 77008                           KDUBOSE@ADJTLAW.COM             Email
                                                                                    ATTN: EMILE JOSEPH, JR.
                                                                                    2000 KALISTE SALOOM ROAD, SUITE 400
                                                                                    P.O. BOX 81129
COUNSEL TO FACILITIES CONSULTING GROUP, LLC   ALLEN & GOOCH, A LAW CORPORATION      LAFAYETTE LA 70598-1129                    EMILEJOSEPH@ALLENGOOCH.COM      Email
                                                                                    ATTN: KEVIN M. MARAIST
                                                                                    GASLIGHT SQUARE
COUNSEL TO ARCHROCK PARTNERS OPERATING        ANDERSON, LEHRMAN, BARRE & MARAIST,   1001 THIRD STREET, STE 1
LLC AND ARCHROCK SERVICE LP                   LLP                                   CORPUS CHRISTI TX 78404                    KMARAIST@ALBMLAW.COM            Email
                                                                                    ATTN: EDWARD L. RIPLEY & PATRICK A. KELLY
                                                                                    1885 SAINT JAMES PLACE
                                                                                    15TH FLOOR                                 ERIPLEY@ANDREWSMYERS.COM
COUNSEL TO CHEVRON U.S.A. INC.                ANDREWS MYERS, P.C                    HOUSTON TX 77056                           PKELLY@ANDREWSMYERS.COM         Email
                                                                                    ATTN: EMANUEL C. GRILLO
                                                                                    30 ROCKEFELLER PLAZA
COUNSEL TO ENVEN ENERGY VENTURES, LLC         BAKER BOTTS L.L.P.                    NEW YORK NY 10112-4498                     EMANUEL.GRILLO@BAKERBOTTS.COM   Email
                                                                                    ATTN: JAMES R. PRINCE
COUNSEL TO HUNT OIL COMPANY, CHIEFTAIN                                              2001 ROSS AVENUE
INTERNATIONAL (U.S.) L.L.C., AND HUNT                                               SUITE 900
CHIEFTAIN DEVELOPMENT, L.P.                   BAKER BOTTS L.L.P.                    DALLAS TX 75201-2980                       JIM.PRINCE@BAKERBOTTS.COM       Email
                                                                                    ATTN: KEVIN CHIU
                                                                                    2001 ROSS AVENUE
                                                                                    SUITE 900
COUNSEL TO ENVEN ENERGY VENTURES, LLC         BAKER BOTTS L.L.P.                    DALLAS TX 75201-2980                       KEVIN.CHIU@BAKERBOTTS.COM       Email
                                                                                    ATTN: JAN M. HAYDEN
                                                                                    201 ST. CHARLES AVENUE
COUNSEL TO SAMSON OFFSHORE MAPLELEAF, LLC BAKER DONELSON BEARMAN CALDWELL &         SUITE 3600
& SAMSON CONTOUR ENERGY E & P, LLC        BERKOWITZ, PC                             NEW ORLEANS LA 70170                       JHAYDEN@BAKERDONELSON.COM       Email
                                                                                    ATTN: LLOYD A. KIM & RACHEL T. KUBANDA
                                                                                    811 LOUISIANA STREET
                                                                                    SUITE 1010                                 LLIM@BALCH.COM
COUNSEL TO ITC GLOBAL, INC.                   BALCH & BINGHAM LLP                   HOUSTON TX 77002                           RKUBANDA@BALCH.COM              Email
                                                                                    BARNET B. SKELTON, JR.
                                                                                    815 WALKER, SUITE 1502
COUNSEL TO RED WILLOW OFFSHORE, LLC           BARNET B. SKELTON, JR.                HOUSTON TX 77002                           BARNETBJR@MSN.COM               Email
                                                                                    ATTN: SHRADDHA BHARATIA
                                                                                    PO BOX 3001
COUNSEL TO AMERICAN EXPRESS NATIONAL BANK BECKET & LEE LLP                          MALVERN PA 19355-0701                                                      First Class Mail
                                                                                    ATTN: CLAY M. TAYLOR, J. ROBERTSON CLARKE,
                                                                                    JOSHUA N. EPPICH                           CLAY.TAYLOR@BONDSELLIS.COM
COUNSEL TO MARATHON OIL COMPANY AND EOG                                             420 THROCKMORTON STREET, SUITE 1000        ROBBIE.CLARKE@BONDSELLIS.COM
RESOURCES, INC.                         BONDS ELLIS EPPICH SCHAFER JONES LLP        FORT WORTH TX 76102                        JOSHUA@BONDSELLIS.COM           Email




        In re: Fieldwood Energy LLC, et al.
        Case No. 20-33948 (MI)                                                                 Page 1 of 13
                                               Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 5 of 18
                                                                                                   Exhibit A
                                                                                               Master Service List
                                                                                            Served as set forth below

                    DESCRIPTION                                   NAME                                     ADDRESS                                   EMAIL             METHOD OF SERVICE
                                                                                        ATTN: MARK E. DENDINGER
                                                                                        185 ASYLUM STREET
COUNSEL TO ENI PETROLEUM UC LLN & ENI US                                                CITYPLACE I, 34TH FLOOR
OPERATING CO. INC.                             BRACEWELL LLP                            HARTFORD CT 06103                           MARK.DENDINGER@BRACEWELL.COM   Email
                                                                                        ATTN: WILLIAM A. (TREY) WOOD III & BOB P.
                                                                                        GRATTAN
                                                                                        711 LOUISIANA STREET
COUNSEL TO ENI PETROLEUM UC LLN & ENI US                                                SUITE 2300                                  TREY.WOOD@BRACEWELL.COM
OPERATING CO. INC.                             BRACEWELL LLP                            HOUSTON TX 77002                            BOB.GRATTAN@BRACEWELL.COM      Email
                                                                                        ATTN: HELEN H. MCLAUGHLIN
                                                                                        2229 SAN FELIPE, SUITE 1000
COUNSEL TO THE DEBTORS                         BUCK KEENAN LLP                          HOUSTON TX 77019                            HMCLAUGHLIN@BUCKKEENAN.COM     Email
                                                                                        ATTN: RYAN E. CHAPPLE, CHELSEA L. SCHELL
                                                                                        400 W. 15TH STREET, SUITE 900               RCHAPPLE@CSTRIAL.COM
BRIAN CLOYD                                    CAIN & SKARNULIS PLLC                    AUSTIN TX 78701                             CSCHELL@CSTRIAL.COM            Email
                                                                                        ATTN: LEANN OPOTOWSKY MOSES & PETER J.
                                                                                        SEGRIST
                                                                                        1100 POYDRAS STREET
                                               CARVER, DARDEN, KORETZKY, TESSIER, FINN, SUITE 3100                                  MOSES@CARVERDARDEN.COM
COUNSEL TO C-DIVE, L.L.C.                      BLOSSMAN & AREAUX L. L. C.               NEW ORLEANS LA 70163                        SEGRIST@CARVERDARDEN.COM       Email
                                                                                        ATTN: RUDY URBAN, CREDIT MANAGER
                                                                                        635 BRAKE RIDGE COURT
CETCO ENERGY SERVICES COMPANY, LLC             CETCO ENERGY SERVICES COMPANY, LLC       SEYMOUR TN 37865                                                           First Class Mail

                                                                                       ATTN: DARREN M. GRZYB, ARMEN SHAHINIAN,
                                                                                       TERRI JANE FREEDMAN & SCOTT ZUBER       ASHAHINIAN@CSGLAW.COM
CO-COUNSEL TO ASPEN AMERICAN INSURANCE                                                 ONE BOLAND DRIVE                        TFREEDMAN@CSGLAW.COM
COMPANY AND EVEREST REINSURANCE COMPANY CHIESA SHAHINIAN & GIANTOMASI                  WEST ORANGE NJ 07052                    SZUBER@CSGLAW.COM                   Email

                                                                                       ATTN: DUANE J. BRESCIA, STEPHEN A. ROBERTS
                                                                                       720 BRAZOS
COUNSEL TO ZURICH AMERICAN INSURANCE                                                   SUITE 700                                  DBRESCIA@CLARKHILL.COM
COMPANY                                        CLARK HILL                              AUSTIN TX 78701                            SROBERTS@CLARKHILL.COM           Email
                                                                                       ATTN: DUANE J. BRESCIA
                                                                                       720 BRAZOS
                                                                                       SUITE 700
COUNSEL TO SEITEL DATA, LTD.                   CLARK HILL STRASBURGER                  AUSTIN TX 78701                            DBRESCIA@CLARKHILL.COM           Email
                                                                                       ATTN: ROBERT P. FRANKE & AUDREY L.
                                                                                       HORNISHER
                                                                                       901 MAIN STREET, SUITE 6000                BFRANKE@CLARKHILL.COM
COUNSEL TO MARTIN ENERGY SERVICES, LLC         CLARK HILL STRASBURGER                  DALLAS TX 75202-3794                       AHORNISHER@CLARKHILL.COM         Email
                                                                                       ATTN: MICHAEL D. WARNER
                                                                                       301 COMMERCE STREET
COUNSEL TO THE OFFICIAL COMMITTEE OF                                                   SUITE 1700
UNSECURED CREDITORS                            COLE SCHOTZ P.C.                        FORT WORTH TX 76102                        MWARNER@COLESCHOTZ.COM           Email


         In re: Fieldwood Energy LLC, et al.
         Case No. 20-33948 (MI)                                                                    Page 2 of 13
                                              Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 6 of 18
                                                                                              Exhibit A
                                                                                          Master Service List
                                                                                       Served as set forth below

                   DESCRIPTION                               NAME                                    ADDRESS                                    EMAIL                      METHOD OF SERVICE
                                                                                    ATTN: SHELLEY BUSH MARMON & WILLIAM
                                                                                    SUDELA
                                                                                    2727 ALLEN PARKWAY
                                                                                    SUITE 1700                              SMARMON@CJMHLAW.COM
COUNSEL TO REPUBLIC HELICOPTERS, INC.         CRADY JEWETT MCCULLEY & HOUREN LLP HOUSTON TX 77019                           WSUDELA@CJMHLAW.COM                        Email
                                                                                    ATTN: CHRISTOPHER J. PIASECKI
                                                                                    810 SOUTH BUCHANAN STREET
                                              DAVIDSON, MEAUX, SONNIER, McELLIGOTT, PO BOX 2908
COUNSEL TO UNIVERSAL EQUIPMENT, INC.          FONTENOT,GIDEON & EDWARDS             LAFAYETTE LA 70502-2908                 CPIASECKI@DAVIDSONMEAUX.COM                Email
                                                                                       ATTN: DAMIAN S. SCHAIBLE, NATASHA
                                                                                       TSIOURIS, JOSHUA Y. STURM AND MICHAEL P. DAMIAN.SCHAIBLE@DAVISPOLK.COM
                                                                                       PERA                                     NATASHA.TSIOURIS@DAVISPOLK.COM
COUNSEL TO THE AD HOC GROUP OF SECURED                                                 450 LEXINGTON AVENUE                     MICHAEL.PERA@DAVISPOLK.COM
LENDERS                                      DAVIS POLK & WARDWELL LLP                 NEW YORK NY 10017                        JOSHUA.STURM@DAVISPOLK.COM             First Class Mail and Email
                                                                                       ATTN: H. KENT AGUILLARD
                                                                                       141 S. 6TH STREET
COUNSEL TO DLS, LLC                          DLS, LLC                                  EUNICE LA 70535                          KENT@AGUILLARDLAW.COM                  Email
                                                                                       ATTN: ZACHARY S. MCKAY
                                                                                       17171 PARK ROW
                                                                                       SUITE 160                                MBARTLETT@DORELAW.COM
COUNSEL TO TETRA APPLIED TECHNOLOGIES, INC. DORE ROTHBERG MCKAY, P.C.                  HOUSTON TX 77084                         ZMCKAY@DORELAW.COM                     Email
                                                                                       ATTN: CHRISTOPHER R. BELMONTE, PAMELA A.
                                                                                       BOSSWICK
                                                                                       230 PARK AVENUE, SUITE 1130              CRBELMONTE@DUANEMORRIS.COM
MOODY'S INVESTORS SERVICE, INC.              DUANE MORRIS LLP                          NEW YORK NY 10169-0079                   PABOSSWICK@DUANEMORRIS.COM             Email
                                                                                       ATTN: NICOLETTE J. ZULLI
                                                                                       1330 POST OAK BOULEVARD, SUITE 800
MOODY'S INVESTORS SERVICE, INC.              DUANE MORRIS LLP                          HOUSTON TX 77056-3166                    NJZULLI@DUANEMORRIS.COM                Email
                                                                                       ATTN: STANWOOD R. DUVAL
                                                                                       101 WILSON AVENUE (70364)
COUNSEL TO MAGNUM MUD EQUIPMENT CO.,         DUVAL, FUNDERBURK, SUNDBERY, RICHARD PO BOX 3017
INC.                                         & WATKINS                                 HOUMA LA 70361                           STAN@DUVALLAWFIRM.COM                  First Class Mail and Email
                                                                                       ATTN: BANKRUPTCY DEPARTMENT
                                                                                       ATLANTA FEDERAL CENTER, 61 FORSYTH
                                             ENVIRONMENTAL PROTECTION AGENCY -         STREET
ENVIRONMENTAL PROTECTION AGENCY              REGION 4 (AL, FL, GA, KY, MS, NC, SC, TN) ATLANTA GA 30303-3104                                                           First Class Mail
                                                                                       ATTN: BANKRUPTCY DEPARTMENT
                                                                                       1445 ROSS AVENUE
                                             ENVIRONMENTAL PROTECTION AGENCY -         SUITE 1200
ENVIRONMENTAL PROTECTION AGENCY              REGION 6 (AR, LA, NM, OK, TX)             DALLAS TX 75202-2733                                                            First Class Mail
                                                                                       ATTN: MARK D. SHERRILL
COUNSEL TO NAUTILUS PIPELINE COMPANY, L.L.C.                                           1001 FANNIN STREET
AND MANTA RAY OFFSHORE GATHERING                                                       SUITE 3700
COMPANY, L.L.C                               EVERSHEDS SUTHERLAND (US) LLP             HOUSTON TX 77002                         MARKSHERRILL@EVERSHEDS-SUTHERLAND.US   Email




        In re: Fieldwood Energy LLC, et al.
        Case No. 20-33948 (MI)                                                                Page 3 of 13
                                              Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 7 of 18
                                                                                               Exhibit A
                                                                                           Master Service List
                                                                                        Served as set forth below

                   DESCRIPTION                                 NAME                                   ADDRESS                               EMAIL          METHOD OF SERVICE
                                                                                    ATTN: JOHN M. CASTILLO
                                                                                    130 E. TRAVIS ST
COUNSEL TO MACQUARIE CORPORATE AND ASSET                                            SUITE 350
FUNDING INC                              FARRIMOND CASTILLO & BRESNAHAN, PC         SAN ANTONIO TX 78205                JCASTILLO@FCBTXLAW.COM          Email
                                                                                    ATTN: LISA A. POWELL
                                                                                    2925 RICHMOND AVE.
                                                                                    SUITE 1200
COUNSEL TO OIL STATES ENERGY SERVICES, LLC    FISHERBROYLES, LLP                    HOUSTON TX 77098                    LISA.POWELL@FISHERBROYLES.COM   Email
                                                                                    ATTN: DAVID S. ELDER
                                                                                    1000 LOUISIANA STREET, SUITE 2000
COUNSEL TO OCEANEERING INTERNATIONAL INC.     FOLEY & LARDNER LLP                   HOUSTON TX 77002-2099               DSELDER@FOLEY.COM               Email
                                                                                    ATTN: J. ROBERT FORSHEY, LYNDA L.
                                                                                    LANKFORD, SUZANNE K. ROSEN
COUNSEL TO XTO ENERGY INC., EXXONMOBIL                                              777 MAIN STREET                     BFORSHEY@FORSHEYPROSTOK.COM
CORPORATION AND ANY SUBS OR AFFILIATED                                              SUITE 1550                          LLANKFORD@FORSHEYPROSTOK.COM
COMPANIES                                     FORSHEY & PROSTOCK, LLP               FORT WORTH TX 76102                 SROSEN@FORSHEYPROSTOK.COM       Email
                                                                                    ATTN: DEIRDRE CAREY BROWN
COUNSEL TO XTO ENERGY INC., EXXONMOBIL                                              1990 POST OAK BLVD
CORPORATION AND ANY SUBS OR AFFILIATED                                              SUITE 2400
COMPANIES                                     FORSHEY & PROSTOK, LLP                HOUSTON TX 77056                    DBROWN@FORSHEYPROSTOK.COM       Email
                                                                                    ATTN: MARK A. PLATT
                                                                                    900 ROSEWOOD COURT
                                                                                    2101 CEDAR SPRINGS ROAD
COUNSEL TO CGG SERVICES (US)                  FROST BROWN TODD LLC                  DALLAS TX 75201                     MPLATT@FBTLAW.COM               Email
                                                                                    ATTN: ANDREW A. BRAUN
COUNSEL TO WESTERNGECO LLC, THE TGS                                                 701 POYDRAS STREET
ENTITIES, AND JX NIPPON OIL EXPLORATION                                             SUITE 4800
(U.S.A.) LIMITED                              GIEGER, LABORDE & LAPEROUSE, L.L.C.   NEW ORLEANS LA 70139-4800           ABRAUN@GLLLAW.COM               Email
                                                                                    ATTN: JOHN E. W. BAAY II
                                                                                    701 POYDRAS STREET
COUNSEL TO LLOG EXPLORATION OFFSHORE, L.L.C.,                                       SUITE 4800
LLOG ENERGY, L.L.C.                           GIEGER, LABORDE & LAPEROUSE, L.L.C.   NEW ORLEANS LA 70139-4800           JBAAY@GLLLAW.COM                Email
COUNSEL TO WESTERNGECO LLC AND                                                      ATTN: JOHN E. W. BAAY II
THE TGS ENTITIES, LLOG EXPLORATION OFFSHORE,                                        701 POYDRAS STREET, SUITE 4800
L.L.C.                                        GIEGER, LABORDE & LAPEROUSE, L.L.C.   NEW ORLEANS LA 70139-4800           JBAAY@GLLLAW.COM                Email
                                                                                    ATTN: LAMBERT M. LAPEROUSE
                                                                                    5151 SAN FELIPE
COUNSEL TO JX NIPPON OIL EXPLORATION (U.S.A.)                                       SUITE 750
LIMITED                                       GIEGER, LABORDE & LAPEROUSE, L.L.C.   HOUSTON TX 77056                    LAPEROUSE@GLLLAW.COM            Email
                                                                                    ATTN: P. WILLIAM STARK
                                                                                    2200 ROSS AVENUE
COUNSEL TO BP EXPLORATION & PRODUCTION                                              SUITE 5200
INC.                                          GREENBERG TRAURIG, LLP                DALLAS TX 75201                     STARKB@GTLAW.COM                Email




        In re: Fieldwood Energy LLC, et al.
        Case No. 20-33948 (MI)                                                                 Page 4 of 13
                                              Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 8 of 18
                                                                                                Exhibit A
                                                                                            Master Service List
                                                                                         Served as set forth below

                   DESCRIPTION                                   NAME                                  ADDRESS                                    EMAIL               METHOD OF SERVICE
                                                                                     ATTN: SHARI L. HEYEN, KARL D. BURNER, KATIE
                                                                                     TIPPER-MCWHORTER                            HEYENS@GTLAW.COM
                                                                                     1000 LOUISIANA STREET                       BURRERK@GTLAW.COM
COUNSEL TO BP EXPLORATION & PRODUCTION                                               SUITE 1700                                  TIPPERK@GTLAW.COM
INC.                                          GREENBERG TRAURIG, LLP                 HOUSTON TX 77002                                                             Email
COUNSEL TO TRANSCONTINENTAL GAS PIPE LINE
COMPANY, LLC, DISCOVERY GAS TRANSMISSION
LLC, WFS LIQUIDS LLC, GULFSTAR ONE LLC AND                                            ATTN: STEVEN W. SOULÉ
WILLIAMS FIELD SERVICES-GULF COAST COMPANY    HALL, ESTILL, HARDWICK, GABLE, GOLDEN & 320 SOUTH BOSTON AVENUE, SUITE 200
LLC                                           NELSON, P.C.                            TULSA OK 74103-3706                      SSOULE@HALLESTILL.COM              Email
COUNSEL TO LEXON INSURANCE COMPANY,
IRONSHORE INDEMNITY INC., IRONSHORE                                                  ATTN: LEE E. WOODARD
SPECIALTY INSURANCE COMPANY, AND                                                     333 W. WASHINGTON STREET, SUITE 200
ENDURANCE AMERICAN INSURANCE COMPANY          HARRIS BEACH LLC                       SYRACUSE NY 13202                        BKEMAIL@HARRISBEACH.COM             Email
                                                                                     ATTN: CHARLES A. BECKHAM JR., AND MARTHA
COUNSEL TO THE AD HOC GROUP OF SECURED                                               WYRICK
LENDERS AND CANTOR FITZGERALD SECURITIES, AS                                         1221 MCKINNEY STREET, SUITE 4000         CHARLES.BECKHAM@HAYNESBOONE.COM
DIP AGENT                                    HAYNES AND BOONE, LLP                   HOUSTON TX 77010                         MARTHA.WYRICK@HAYNESBOONE.COM       First Class Mail and Email
                                                                                     ATTN: JOSHUA SPENCER, ESQ. AND ANASTASIA
COUNSEL TO CORTLAND CAPITAL MARKET                                                   SOTIROPOLOUS, ESQ.
SERVICES LLC, ADMINISTRATIVE AND COLLATERAL                                          150 N. RIVERSIDE PLAZA                   JOSHUA.SPENCER@HKLAW.COM
AGENT UNDER THE SLTL CREDIT AGREEMENT       HOLLAND & KNIGHT LLP                     CHICAGO IL 60606                         ANASTASIA.SOTIROPOULOS@HKLAW.COM    First Class Mail and Email
                                                                                     ATTN: PHILLIP W. NELSON
COUNSEL TO CORTLAND CAPITAL MARKET                                                   150 N. RIVERSIDE PLAZA, SUITE 2700
SERVICES LLC                                  HOLLAND & KNIGHT LLP                   CHICAGO IL 60606                         PHILLIP.NELSON@HKLAW.COM            Email
                                                                                     ATTN: TOM A. HOWLEY & ERIC TERRY
                                                                                     PENNZOIL PLACE – SOUTH TOWER
                                                                                     711 LOUISIANA ST, SUITE 1850             TOM@HOWLEY-LAW.COM
COUNSEL TO GENESIS ENERGY, L.P.               HOWLEY LAW PLLC                        HOUSTON TX 77002                         ERIC@HOWLEY-LAW.COM                 Email

                                                                                     ATTN: WAYNE KITCHENS & ALEXANDER PEREZ
                                                                                     TOTAL PLAZA
                                                                                     1201 LOUISIANA, 28TH FLOOR                WKITCHENS@HWA.COM
COUNSEL TO PETRO AMIGOS SUPPLY, INC.          HUGHES WATTERS ASKANASE, L.L.P.        HOUSTON TX 77002                          APEREZ@HWA.COM                     Email
                                                                                     ATTN: ROBIN RUSSELL, TIMOTHY A. (“TAD”)
                                                                                     DAVIDSON II, CATHERINE A. DIKTABAN
                                                                                     600 TRAVIS STREET                         RRUSSELL@HUNTONAK.COM
                                                                                     SUITE 4200                                TADDAVIDSON@HUNTONAK.COM
COUNSEL TO APACHE CORPORATION                 HUNTON ANDREWS KURTH LLP               HOUSTON TX 77002                          CDIKTABAN@HUNTONAK.COM             Email
                                                                                     ATTN: BUFFEY E. KLEIN
                                                                                     1900 N. PEARL, SUITE 1800
COUNSEL TO 2M OILFIELD GROUP, INC.            HUSCH BLACKWELL LLP                    DALLAS TX 75201                           BUFFEY.KLEIN@HUSCHBLACKWELL.COM    Email
                                                                                     ATTN: JAMESON J. WATTS
                                                                                     111 CONGRESS AVENUE, SUITE 1400
COUNSEL TO 2M OILFIELD GROUP, INC.            HUSCH BLACKWELL LLP                    AUSTIN TX 78701                           JAMESON.WATTS@HUSCHBLACKWELL.COM   Email


        In re: Fieldwood Energy LLC, et al.
        Case No. 20-33948 (MI)                                                                  Page 5 of 13
                                              Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 9 of 18
                                                                                              Exhibit A
                                                                                          Master Service List
                                                                                       Served as set forth below

                   DESCRIPTION                                 NAME                                  ADDRESS                                    EMAIL            METHOD OF SERVICE
                                                                                   ATTN: RANDALL A. RIOS
                                                                                   600 TRAVIS STREET
CO-COUNSEL TO ASPEN AMERICAN INSURANCE                                             SUITE 2350
COMPANY AND EVEREST REINSURANCE COMPANY HUSCH BLACKWELL LLP                        HOUSTON TX 77002                          RANDY.RIOS@HUSCHBLACKWELL.COM   Email
                                                                                   CENTRALIZED INSOLVENCY OPERATION
                                                                                   2970 MARKET ST.
IRS INSOLVENCY SECTION                        INTERNAL REVENUE SERVICE             PHILADELPHIA PA 19104-5016                                                First Class Mail
                                                                                   CENTRALIZED INSOLVENCY OPERATION
                                                                                   PO BOX 7346
IRS INSOLVENCY SECTION                        INTERNAL REVENUE SERVICE             PHILADELPHIA PA 19101-7346                                                First Class Mail
COUNSEL TO AKER SOLUTIONS, INC.               JACKSON WALKER LLP                   ATTN: BRUCE J. RUZINSKY & VICTORIA N.     BRUZINSKY@JW.COM                Email
                                                                                   ATTN: CHAD L. SCHEXNAYDER
                                                                                   2800 NORTH CENTRAL AVENUE
                                                                                   SUITE 1800
COUNSEL TO RLI INSURANCE COMPANY              JENNINGS HAUG CUNNINGHAM             PHOENIX AZ 85004                          CLS@JHC.LAW                     Email
                                                                                   ATTN: MICHAEL P. RIDULFO
                                                                                   5051 WESTHEIMER RD., 10TH FLOOR
COUNSEL TO MULTIKLIENT INVEST AS              KANE RUSSELL COLEMAN LOGAN PC        HOUSTON TX 77056                          MRIDULFO@KRCL.COM               Email
                                                                                   ATTN: CONSTANTINE Z. PAMPHILIS
                                                                                   1415 LOUISIANA
                                                                                   SUITE 2100
COUNSEL TO SLTL AD HOC COMMITTEE              KASOWITZ BENSON TORRES LLP           HOUSTON TX 77002                          DPAMPHILIS@KASOWITZ.COM         Email
                                                                                   ATTN: DAVID S. ROSNER, MATTHEW B. STEIN
                                                                                   1633 BROADWAY                             DROSNER@KASOWITZ.COM
COUNSEL TO SLTL AD HOC COMMITTEE              KASOWITZ BENSON TORRES LLP           NEW YORK NY 10019                         MSTEIN@KASOWITZ.COM             Email
                                                                                   ATTN: ELLIOT SCHARFENBERG & JON ORD
                                                                                   400 POYDRAS STREET
                                                                                   SUITE 250                                 ESCHARFENBERG@KREBSFARLEY.COM
COUNSEL TO RLI INSURANCE COMPANY              KREBS FARLEY & DRY, PLLC             NEW ORLEANS LA 70130                      JORD@KREBSFARLEY.COM            Email
                                                                                   ATTN: RYAN D. DRY
                                                                                   909 18TH STREET
COUNSEL TO RLI INSURANCE COMPANY              KREBS FARLEY & DRY, PLLC             PLANO TX 75074                            RDRY@KREBSFARLEY.COM            Email
                                                                                   ATTN: DARRYL T. LANDWEHR
                                                                                   935 GRAVIER STREET
                                                                                   SUITE 835
COUNSEL TO AUBREY WILD                        LANDWEHR LAW FIRM                    NEW ORLEANS LA 70112                      DTLANDWEHR@ATT.NET              Email
                                                                                   ATTN: BRANDON K. BAINS
COUNSEL TO THE HANOVER INSURANCE COMPANY                                           P.O. BOX 94075
AND LIBERTY MUTUAL INSURANCE COMPANY     LANGLEY LLP                               SOUTHLAKE TX 76092                        BBAINS@L-LLP.COM                Email
                                                                                   ATTN: PATRICIA WILLIAMS PREWITT
                                              LAW OFFICE OF PATRICIA WILLIAMS      10953 VISTA LAKE COURT
COUNSEL TO PLAINS GAS SOLUTIONS               PREWITT                              NAVASOTA TX 77868                         PWP@PATTIPREWITTLAW.COM         Email
                                                                                   ATTN: JOHN A. MOUTON, III
COUNSEL TO INTRACOASTAL LIQUID MUD, INC.                                           P.O. BOX 82438
AND PROCESSING PIPING MATERIALS               LAW OFFICES OF JOHN A. MOUTON, III   LAFAYETTE LA 70598                        JOHN@JMOUTONLAW.COM             Email


        In re: Fieldwood Energy LLC, et al.
        Case No. 20-33948 (MI)                                                                Page 6 of 13
                                               Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 10 of 18
                                                                                                 Exhibit A
                                                                                             Master Service List
                                                                                          Served as set forth below

                    DESCRIPTION                                     NAME                               ADDRESS                                    EMAIL             METHOD OF SERVICE
                                                                                      ATTN: LARRY P. WALTON
                                                                                      4001 NORTH SHEPHERD DRIVE
COUNSEL TO DEEP SEA DEVELOPMENT SERVICES,                                             SUITE 109
INC.                                             LAW OFFICES OF LARRY P. WALTON       HOUSTON TX 77018-5510                   LARRYPWALTON@LARRYPWALTON.COM      Email
                                                                                      ATTN: DIANE W. SANDERS
COUNSEL TO LAVACA COUNTY, LIVE OAK CAD,          LINEBARGER GOGGAN BLAIR & SAMPSON,   PO BOX 17428
STARR COUNTY, RIO GRANDE CITY CISD               LLP                                  AUSTIN TX 78760-7428                    AUSTIN.BANKRUPTCY@PUBLICANS.COM    Email

COUNSEL TO HARRIS COUNTY, JEFFERSON                                                   ATTN: JOHN P. DILLMAN
COUNTY, CYPRESS-FAIRBANKS ISD, MATAGORDA         LINEBARGER GOGGAN BLAIR & SAMPSON,   PO BOX 3064
COUNTY AND GALVESTON COUNTY                      LLP                                  HOUSTON TX 77253-3064                   HOUSTON_BANKRUPTCY@PUBLICANS.COM   Email
COUNSEL TO COX OIL, LLC, COX OPERATING LLC,
ENERGY XXI GOM, LLC, ENERGY XXI GULF COAST,
INC., ENERGY XXI ONSHORE, LLC, ENERGY XXI
PIPELINE, LLC, ENERGY XXI PIPELINE I, LLC, ENERGY                                     ATTN: CHELSEY ROSENBLOOM
XXI PIPELINE II, LLC, M21K, LLC AND EPL OIL & GAS,                                    200 VESEY STREET
INC.                                               LOCKE LORD LLP                     NEW YORK NY 10281                       CHELSEY.ROSENBLOOM@LOCKELORD.COM   Email

COUNSEL TO COX OIL, LLC, COX OPERATING LLC,
ENERGY XXI GOM, LLC, ENERGY XXI GULF COAST,
INC., ENERGY XXI ONSHORE, LLC, ENERGY XXI
PIPELINE, LLC, ENERGY XXI PIPELINE I, LLC, ENERGY                                     ATTN: JONATHAN W. YOUNG
XXI PIPELINE II, LLC, M21K, LLC AND EPL OIL & GAS,                                    111 HUNTINGTON AVE.
INC.                                               LOCKE LORD LLP                     BOSTON MA 02199                         JONATHAN.YOUNG@LOCKELORD.COM       Email
COUNSEL TO COX OIL, LLC, COX OPERATING LLC,
ENERGY XXI GOM, LLC, ENERGY XXI GULF COAST,
INC., ENERGY XXI ONSHORE, LLC, ENERGY XXI
PIPELINE, LLC, ENERGY XXI PIPELINE I, LLC, ENERGY                                     ATTN: MICHAEL B. KIND
XXI PIPELINE II, LLC, M21K, LLC AND EPL OIL & GAS,                                    111 SOUTH WACKER DRIVE
INC.                                               LOCKE LORD LLP                     CHICAGO IL 60606                        MICHAEL.KIND@LOCKELORD.COM         Email

                                                                                      ATTN: OMER F. KUEBEL, III & BRADLEY C. KNAPP
                                                                                      601 POYDRAS ST
COUNSEL TO U.S. SPECIALTY INSURANCE                                                   SUITE 2660                                   RKUEBEL@LOCKELORD.COM
COMPANY                                          LOCKE LORD LLP                       NEW ORLEANS LA 70130                         BKNAPP@LOCKELORD.COM          Email
                                                                                      ATTN: PHILIP G. EISENBERG, ELIZABETH GUFFY,
                                                                                      SIMON MAYER & ERIC BOYLAN                    PEISENBERG@LOCKELORD.COM
                                                                                      600 TRAVIS STREET                            EGUFFY@LOCKELORD.COM
COUNSEL TO U.S. SPECIALTY INSURANCE                                                   SUITE 2800                                   SIMON.MAYER@LOCKELORD.COM
COMPANY                                          LOCKE LORD LLP                       HOUSTON TX 77002                             ERIC.BOYLAN@LOCKELORD.COM     Email




         In re: Fieldwood Energy LLC, et al.
         Case No. 20-33948 (MI)                                                                  Page 7 of 13
                                               Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 11 of 18
                                                                                                Exhibit A
                                                                                            Master Service List
                                                                                         Served as set forth below

                    DESCRIPTION                                     NAME                                ADDRESS                                   EMAIL              METHOD OF SERVICE
COUNSEL TO COX OIL, LLC, COX OPERATING LLC,
ENERGY XXI GOM, LLC, ENERGY XXI GULF COAST,
INC., ENERGY XXI ONSHORE, LLC, ENERGY XXI                                            ATTN: STEPHEN J. HUMENIUK
PIPELINE, LLC, ENERGY XXI PIPELINE I, LLC, ENERGY                                    600 CONGRESS AVE
XXI PIPELINE II, LLC, M21K, LLC AND EPL OIL & GAS,                                   SUITE 2200
INC.                                               LOCKE LORD LLP                    AUSTIN TX 78701                            STEPHEN.HUMENIUK@LOCKELORD.COM   Email
                                                                                                                                PGOODWINE@LOOPERGOODWINE.COM
                                                                                     ATTN: PAUL J. GOODWINE, TAYLOR P.
                                                                                     MOULEDOUX,                                TMOULEDOUX@LOOPERGOODWINE.COM
                                                                                     LINDSEY M. JOHNSON, TAYLOR P. GAY & ADDIE LJOHNSON@LOOPERGOODWINE.COM
COUNSEL TO LLOG EXPLORATION COMPANY, LLC,                                            L. DANOS
ANKOR ENERGY LLC AND ANKOR E&P HOLDINGS                                              650 POYDRAS STREET, SUITE 2400            TGAY@LOOPERGOODWINE.COM
CORPORATION, AND APACHE CORPORATION              LOOPER GOODWINE P.C.                NEW ORLEANS LA 70130                      ADANOS@LOOPERGOODWINE.COM         Email

                                                                                     ATTN: RYAN M. SEIDEMANN
                                                                                     CIVIL DIVISION/LANDS & NATURAL RESOURCES
COUNSEL TO THE STATE OF LOUISIANA, OFFICE OF                                         P.O. BOX 94005
MINERAL RESOURCES                            LOUISIANA DEPARTMENT OF JUSTICE         BATON ROUGE LA 70804-9005                                                   First Class Mail
                                                                                     ATTN: STEWART F. PECK
                                              LUGENBUHL, WHEATON, PECK, RANKIN &     601 POYDRAS ST., SUITE 2775
COUNSEL TO ATLANTIC MARITIME SERVICES, L.L.C. HUBBARD                                NEW ORLEANS LA 70130                       SPECK@LAWLA.COM                  Email
                                                                                     ATTN: KRYSTEN AUGELLO
                                                                                     3100 WEST END AVE
COUNSEL TO MACQUARIE CORPORATE AND ASSET MACQUARIE CORPORATE AND ASSET               SUITE 325
FUNDING INC                              FUNDING INC                                 NASHVILLE TN 37203                                                          First Class Mail
                                                                                     ATTN: WARD LAFLEUR
                                                                                     600 JEFFERSON ST., 10TH FLOOR
CO-COUNSEL TO KILGORE MARINE                     MAHTOOK & LAFLEUR, LLC              LAFAYETTE LA 70501                         WLAFLEUR@MANDLLAW.COM            Email
                                                                                     ATTN: MICHAEL E. COLLINS & ROBERT W.
                                                                                     MILLER
                                                                                     1201 DEMONBREUN ST
COUNSEL TO PHILADELPHIA INDEMNITY                                                    SUITE 900                                  MCOLLINS@MANIERHEROD.COM
INSURANCE COMPANY                                MANIER & HEROD, P.C.                NASHVILLE TN 37203                         RMILLER@MANIERHEROD.COM          Email

                                                                                     ATTN: RICHARD M. GAAL
                                                                                     11 NORTH WATER STREET (36602), SUITE 13290
                                                 MCDOWELL KNIGHT ROEDDER & SLEDGE,   P.O. BOX 350
COUNSEL TO CORE INDUSTRIES, INC.                 L.L.C.                              MOBILE AL 36601                            RGAAL@MCDOWELLKNIGHT.COM         Email
                                                                                     ATTN: JOHN D. SHEPPARD
                                                                                     3701 KIRBY DRIVE
                                                                                     SUITE 1000
COUNSEL TO MILORAD RAICEVIC                      MORROW SHEPPARD LLP                 HOUSTON TX 77098                           JSHEPPARD@MORROWSHEPPARD.COM     Email




         In re: Fieldwood Energy LLC, et al.
         Case No. 20-33948 (MI)                                                                 Page 8 of 13
                                              Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 12 of 18
                                                                                                Exhibit A
                                                                                            Master Service List
                                                                                         Served as set forth below

                   DESCRIPTION                                  NAME                                   ADDRESS                                    EMAIL                   METHOD OF SERVICE
                                                                                     ATTN: RYAN E. MANNS, EMMA L. PERSSON
COUNSEL TO SHELL OFFSHORE, INC., SHELL OIL                                           2200 ROSS AVENUE
COMPANY, SHELL GOM PIPELINE COMPANY, LLC                                             SUITE 3600                                RYAN.MANNS@NORTONROSEFULBRIGHT.COM
AND SHELL PIPELINE, LLC                        NORTON ROSE FULBRIGHT US, LLP         DALLAS TX 75201                           EMMA.PERSSON@NORTONROSEFULBRIGHT.COM   Email
                                                                                     ATTN: DANIEL S. SHAMAH, ADAM P.
                                                                                     HABERKORN, KAI ZHU
                                                                                     TIMES SQUARE TOWER                        DSHAMAH@OMM.COM
COUNSEL TO SPECIAL COMMITTEE OF THE BOARD                                            SEVEN TIMES SQUARE                        AHABERKORN@OMM.COM
OF DIRECTORS                              O’MELVENY & MYERS LLP                      NEW YORK NY 10036                         KAIZHU@OMM.COM                         Email
                                          OFFICE OF THE ATTORNEY GENERAL OF          ATTN: JASON B. BINFORD
COUNSEL TO THE RAILROAD COMMISSION OF     TEXAS BANKRUPTCY & COLLECTIONS             P. O. BOX 12548 MC008                     JASON.BINFORD@OAG.TEXAS.GOV
TEXAS, TEXAS GENERAL LAND OFFICE          DIVISION                                   AUSTIN TX 78711-2548                                                             Email
                                                                                     ATTN: HECTOR DURAN, STEPHEN STATHAM
                                                                                     515 RUSK AVE.                             STEPHEN.STATHAM@USDOJ.GOV
UNITED STATES TRUSTEE SOUTHERN DISTRICT OF                                           STE. 3516                                 HECTOR.DURAN.JR@USDOJ.GOV
TEXAS                                          OFFICE OF THE UNITED STATES TRUSTEE   HOUSTON TX 77002                          USTPREGION07.HU.ECF@USDOJ.GOV          First Class Mail and Email
                                                                                     ATTN: ROGER E. ISHEE, CRAIG A. RYAN
                                                                                     1200 CAMELLIA BOULEVARD
                                                                                     SUITE 300, POST OFFICE BOX 2507           ISHEER@ONEBANE.COM
COUNSEL TO CALLON PETROLUEM COMPANY            ONEBANE LAW FIRM                      LAFAYETTE LA 70502-3607                   RYANC@ONEBANE.COM                      Email
                                                                                     ATTN: PAMELA H. WALTERS
COUNSEL TO ALDINE INDEPENDENT SCHOOL                                                 2520 W.W. THORNE DRIVE
DISTRICT                                       PAMELA H. WALTERS                     HOUSTON TX 77073                          BNKATTY@ALDINEISD.ORG                  Email
                                                                                     ATTN: CHARLES M. RUBIO
                                                                                     PENNZOIL PLACE
                                                                                     700 MILAM STREET, SUITE 1300
COUNSEL TO ISLAND OPERATING COMPANY            PARKINS LEE & RUBIO LLP               HOUSTON TX 77002                          CRUBIO@PARKINSLEE.COM                  Email
                                                                                     ATTN: JOHN T. BANKS
                                                                                     3301 NORTHLAND DRIVE
                                               PERDUE, BRANDON, FIELDER, COLLINS &   SUITE 505
COUNSEL TO COLORADO COUNTY TAX OFFICE          MOTT, L.L.P.                          AUSTIN TX 78731                           JBANKS@PBFCM.COM                       Email
COUNSEL TO SHELDON INDEPENDENT SCHOOL
DISTRICT AND ANAHUAC INDEPENDENT SCHOOL
DISTRICT, BAY CITY INDEPENDENT SCHOOL                                                ATTN: MELISSA E. VALDEZ & OWEN M. SONIK
DISTRICT, CHAMBERS COUNTY, DICKINSON                                                 1235 NORTH LOOP WEST
INDEPENDENT SCHOOL DISTRICT AND TRINITY BAY PERDUE, BRANDON, FIELDER, COLLINS &      SUITE 600                                 MVALDEZ@PBFCM.COM
CONSERVATION DISTRICT                       MOTT, L.L.P.                             HOUSTON TX 77008                          OSONIK@PBFCM.COM                       Email
                                                                                     ATTN: PATRICK “RICK” M. SHELBY
                                                                                     365 CANAL STREET
                                                                                     SUITE 2000
COUNSEL TO LINEAR CONTROLS, INC. & A-PORT LLC PHELPS DUNBAR LLP                      NEW ORLEANS LA 70130-6534                 RICK.SHELBY@PHELPS.COM                 Email
COUNSEL TO GIBSON APPLIED TECHNOLOGY &                                               ATTN: J. ROBERT MACNAUGHTON
ENGINEERING (TEXAS), LLC, AND                                                        1776 YORKTOWN SUITE 300
VIKING ENGINEERING, LC.                       PORTER & POWERS, PLLC                  HOUSTON TX 77056                          ROBERT@PORTERPOWERS.COM                Email




        In re: Fieldwood Energy LLC, et al.
        Case No. 20-33948 (MI)                                                                  Page 9 of 13
                                              Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 13 of 18
                                                                                                 Exhibit A
                                                                                             Master Service List
                                                                                          Served as set forth below

                   DESCRIPTION                                 NAME                                   ADDRESS                                     EMAIL             METHOD OF SERVICE
                                                                                     ATTN: ERIC M. ENGLISH
COUNSEL FOR TALOS ENERGY INC.                                                        1000 MAIN STREET, 36TH FLOOR
AND TALOS ENERGY LLC                           PORTER HEDGES LLP                     HOUSTON TX 77002                            EENGLISH@PORTERHEDGES.COM      Email

                                                                                     ATTN: JOHN F. HIGGINS, M. SHANE JOHNSON,    JHIGGINS@PORTERHEDGES.COM
                                                                                     MEGAN N. YOUNG-JOHN & AARON J. POWER        SJOHNSON@PORTERHEDGES.COM
                                                                                     1000 MAIN STREET, 36TH FLOOR                MYOUNG-JOHN@PORTERHEDGES.COM
COUNSEL TO KILGORE MARINE AND SUBSEA 7 LLC     PORTER HEDGES LLP                     HOUSTON TX 77002                            APOWER@PORTERHEDGES.COM        Email
                                                                                     ATTN: OMAR J. ALANIZ
                                                                                     2850 N. HARWOOD STREET
COUNSEL TO HESS CORPORATION                    REED SMITH LLP                        DALLAS TX 75201                             OALANIZ@REEDSMITH.COM          Email
                                                                                     ATTN: JOHN MAYER
                                                                                     7700 SAN FELIPE
                                                                                     SUITE 550
COUNSEL TO SOLAR TURBINES INCORPORATED         ROSS, BANKS, MAY, CRON & CAVIN, P.C.  HOUSTON TX 77063                            JMAYER@ROSSBANKS.COM           Email
                                                                                     ATTN: CHARLES M. RUSH
                                                                                     202 MAGNATE DRIVE
COUNSEL TO DIAMOND OIL FIELD SUPPLY, INC.      RUSH, RUSH & CALOGERO                 LAFAYETTE LA 70508                          CMRUSH@CHARLESMRUSHESQ.COM     Email
                                                                                     SECRETARY OF THE TREASURY
SECURITIES AND EXCHANGE COMMISSION -                                                 100 F ST NE                                 SECBANKRUPTCY@SEC.GOV
HEADQUARTERS                                   SECURITIES & EXCHANGE COMMISSION      WASHINGTON DC 20549                         NYROBANKRUPTCY@SEC.GOV         First Class Mail and Email
                                                                                     DAVID WOODCOCK REGIONAL DIRECTOR
                                                                                     BURNETT PLAZA
SECURITIES AND EXCHANGE COMMISSION -           SECURITIES & EXCHANGE COMMISSION -    801 CHERRY ST., STE. 1900 UNIT 18
REGIONAL OFFICE                                FORT WORTH OFFICE                     FORT WORTH TX 76102                                                        First Class Mail
                                                                                     ATTN: BANKRUPTCY DEPARTMENT
                                                                                     BROOKFIELD PLACE
SECURITIES AND EXCHANGE COMMISSION -           SECURITIES & EXCHANGE COMMISSION - NY 200 VESEY STREET STE 400
REGIONAL OFFICE                                OFFICE                                NEW YORK NY 10281-1022                      BANKRUPTCYNOTICESCHR@SEC.GOV   First Class Mail and Email
                                                                                     ATTN: ANTHONY SHIH
                                                                                     919 MILAM
                                                                                     STE. 2100
COUNSEL TO GENESIS ENERGY, L.P.                SENIOR COUNSEL - GENESIS ENERGY, L.P. HOUSTON TX 77002                            TONY.SHIH@GENLP.COM            Email
                                                                                     ATTN: J. DAVID FORSYTH
                                                                                     400 POYDRAS STREET
                                               SESSIONS, FISHMAN, NATHAN & ISRAEL,   SUITE 2550
COUNSEL TO HELIS OIL & GAS COMPANY, LLC        L.L.C.                                NEW ORLEANS LA 70130                        JDF@SESSIONS-LAW.COM           Email

                                                                                     ATTN: MARK S. FINKELSTEIN, REGAN S. JONES
                                               SHANNON, MARTIN, FINKELSTEIN,         1001 MCKINNEY STREET, SUITE 1100            MFINKELSTEIN@SMFADLAW.COM
COUNSEL TO TRENDSETTER ENGINEERING, INC.       ALVARADO & DUNNE, P.C.                HOUSTON TX 77002-6424                       RJONES@SMFADLAW.COM            Email
COUNSEL TO CANTOR FITZGERALD SECURITIES,                                             ATTN: NATHAN PLOTKIN, ESQ.
ADMINISTRATIVE AND COLLATERAL AGENT UNDER                                            445 PARK AVE, 9TH FLOOR
THE FLTL CREDIT AGREEMENT                 SHIPMAN & GOODWIN LLP                      NEW YORK NY 10022                           NPLOTKIN@GOODWIN.COM           First Class Mail and Email



        In re: Fieldwood Energy LLC, et al.
        Case No. 20-33948 (MI)                                                                  Page 10 of 13
                                               Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 14 of 18
                                                                                                   Exhibit A
                                                                                               Master Service List
                                                                                            Served as set forth below

                    DESCRIPTION                                  NAME                                      ADDRESS                                EMAIL                     METHOD OF SERVICE

                                                                                        ATTN: KATHLEEN LAMANNA, KIMBERLY COHEN
COUNSEL TO CANTOR FITZGERALD SECURITIES, AS                                             ONE CONSTITUTION PLAZA                 KLAMANNA@GOODWIN.COM
DIP AGENT                                   SHIPMAN & GOODWIN LLP                       HARTFORD CT 06103-1919                 KCOHEN@GOODWIN.COM                       Email

                                                                                        ATTN: DUSTON K. MCFAUL & MICHAEL FISCHEL
                                                                                        1000 LOUISIANA ST., SUITE 5900             DMCFAUL@SIDLEY.COM
COUNSEL TO RIDGEWOOD ENERGY CORPORATION SIDLEY AUSTIN LLP                               HOUSTON TX 77002                           MFISHEL@SIDLEY.COM                   Email
                                                                                        ATTN: KENNETH P. GREEN
COUNSEL TO SBM GULF PRODUCTION, LLC             SNOW SPENCE GREEN LLP                   P. O. BOX 549                              KGREEN@SNOWSPENCELAW.COM             Email
                                                                                        ATTN: ROSS SPENCE; HENRY W KNIGHT
                                                                                        1770 SAINT JAMES PLACE
COUNSEL TO SUPREME SERVICE & SPECIALTY                                                  SUITE 625                                  ROSS@SDLLAW.COM
CO., INC.                                       SPENCE, DESENBERG & LEE, PLLC           HOUSTON TX 77056                           HENRY@SDLLAW.COM                     Email
                                                                                        ATTN: MARVIN E. SPROUSE III
                                                                                        901 MOPAC EXPRESSWAY SOUTH
COUNSEL TO CORTEX BUSINESS SOLUTIONS USA                                                BUILDING 1, SUITE 300
LLC                                             SPROUSE LAW FIRM                        AUSTIN TX 78746                            MSPROUSE@SPROUSEPLLC.COM             Email
                                                                                        ATTN: BRIAN A. BAKER, DOUGLAS S. FRIEDMAN,
COUNSEL TO RENAISSANCE OFFSHORE, LLC AND                                                CYNTHIA CASTANON
NATIONAL OILWELL VARCO, L.P., XP SYSTEMS, L.P.,                                         1010 LAMAR STREET                          BRIAN.BAKER@STACYBAKERLAW.COM
AND NOV PROCESS & FLOW TECHNOLOGIES US,                                                 SUITE 550                                  DOUG.FRIEDMAN@STACYBAKERLAW.COM
INC.                                            STACY & BAKER, P.C.                     HOUSTON TX 77002                           CYNTHIA.CASTANON@STACYBAKERLAW.COM   Email
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                                                        P.O. BOX 300152
ATTORNEY GENERAL                                STATE OF ALABAMA ATTORNEY GENERAL       MONTGOMERY AL 36130-0152                                                        First Class Mail
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                STATE OF ALABAMA DEPARTMENT OF          1400 COLISEUM BOULEVARD
ENVIRONMENTAL PROTECTION AGENCY                 ENVIRONMENTAL MANAGEMENT                MONTGOMERY AL 36110-2400                   PERMITSMAIL@ADEM.STATE.AL.US         First Class Mail and Email
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                                                        P.O. BOX 94095
ATTORNEY GENERAL                                STATE OF LOUISIANA ATTORNEY GENERAL     BATON ROUGE LA 70804-4095                                                       First Class Mail
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                STATE OF LOUISIANA DEPARTMENT OF        602 N. FIFTH STREET
ENVIRONMENTAL PROTECTION AGENCY                 ENVIRONMENTAL QUALITY (DEQ)             BATON ROUGE LA 70802                                                            First Class Mail
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                                                        WALTER SILLERS BUILDING
                                                                                        550 HIGH STREET, SUITE 1200, P.O. BOX 220
ATTORNEY GENERAL                                STATE OF MISSISSIPPI ATTORNEY GENERAL   JACKSON MS 39201                                                                First Class Mail
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                STATE OF MISSISSIPPI DEPARTMENT OF      P.O. BOX 2261
ENVIRONMENTAL PROTECTION AGENCY                 ENVIRONMENTAL QUALITY (DEQ)             JACKSON MS 39225                                                                First Class Mail




         In re: Fieldwood Energy LLC, et al.
         Case No. 20-33948 (MI)                                                                   Page 11 of 13
                                              Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 15 of 18
                                                                                               Exhibit A
                                                                                           Master Service List
                                                                                        Served as set forth below

                   DESCRIPTION                                NAME                                  ADDRESS                                       EMAIL                METHOD OF SERVICE
                                                                                   ATTN: BANKRUPTCY DEPT
                                                                                   CAPITOL STATION
                                                                                   PO BOX 12548
STATE OF TEXAS ATTORNEY GENERAL                STATE OF TEXAS ATTORNEY GENERAL     AUSTIN TX 78711-2548                       PUBLIC.INFORMATION@OAG.STATE.TX.US   First Class Mail and Email
                                                                                   ATTN: BANKRUPTCY DEPT
                                                                                   BUILDING LETTER
                                               STATE OF TEXAS COMMISSION ON        P O BOX 13087
TEXAS ENVIRONMENTAL PROTECTION AGENCY          ENVIRONMENTAL QUALITY               AUSTIN TX 78711-3087                       AC@TCEQ.TEXAS.GOV                    First Class Mail and Email
                                                                                   ATTN: WILLIAM S. ROBBINS & PAUL DOUGLAS
                                                                                   STEWART, JR.
                                                                                   301 MAIN STREET, SUITE 1640
                                                                                   P. O. BOX 2348                             WROBBINS@STEWARTROBBINS.COM
COUNSEL TO PARTCO, LLC                       STEWART ROBBINS BROWN & ALTAZAN, LLC BATON ROUGE LA 70821-2348                   DSTEWART@STEWARTROBBINS.COM          Email
                                                                                   ATTN: KRISTOPHER M. HANSEN, FRANK A.       KHANSEN@STROOCK.COM
                                                                                   MEROLA, JONATHAN D. CANFIELD, SHERRY J.    FMEROLA@STROOCK.COM
                                                                                   MILLMAN & KENNETH PASQUALE                 JCANFIELD@STROOCK.COM
COUNSEL TO THE OFFICIAL COMMITTEE OF                                               180 MAIDEN LANE                            SMILLMAN@STROOCK.COM
UNSECURED CREDITORS                          STROOCK & STROOCK & LAVAN LLP         NEW YORK NY 10038                          KPASQUALE@STROOCK.COM                Email
                                                                                   ATTN: PETER C. D’APICE
COUNSEL TO CNOOC PETROLEUM OFFSHORE          STUTZMAN, BROMBERG, ESSERMAN &        2323 BRYAN STREET, SUITE 2200
U.S.A. INC.                                  PLIFKA, P.C.                          DALLAS TX 75201                            DAPICE@SBEP-LAW.COM                  Email
                                                                                   FREDDY BOURGEOIS, CONTROLLER
                                                                                   204 INDUSTRIAL AVE C
SUPREME SERVICE & SPECIALTY CO., INC.        SUPREME SERVICE & SPECIALTY CO., INC. HOUMA LA 70363                                                                  First Class Mail
                                                                                   ATTN: RAFAEL RODRIGUEZ
                                             TODD, BARRON, THOMASON, HUDMAN & 3800 E. 42ND STREET, SUITE 409
COUNSEL TO IGNITION SYSTEMS & CONTROLS, INC. BEBOUT, P.C.                          ODESSA TX 79762                            RRODRIGUEZ@TODDLAWFIRM.COM           Email
COUNSEL TO UNITED STATES OF AMERICA, ON                                            ATTN: SERAJUL F. ALI, J. ZACHARY BALASKO
BEHALF OF THE UNITED STATES DEPARTMENT OF                                          P.O. BOX 875-BEN FRANKLIN STATION          SERAJUL.ALI@USDOJ.GOV
THE INTERIOR                                 U.S. DEPARTMENT OF JUSTICE            WASHINGTON DC 20044                        JOHN.Z.BALASKO@USDOJ.GOV             Email
                                                                                   ATTN: RYAN K. PATRICK
US ATTORNEY FOR THE SOUTHERN DISTRICT OF     US ATTORNEY FOR SOUTHERN DISTRICT OF 1000 LOUISIANA, STE 2300
TEXAS                                        TEXAS                                 HOUSTON TX 77002                                                                First Class Mail
                                                                                   ATTN: VICTORIA V. THERIOT
COUNSEL TO ACADIAN CONTRACTORS, INC. AND                                           P.O. BOX 1740                              TTHERIOT@ACADIANCONTRACTORS.COM
BROUSSARD BROTHERS, INC                      VICTORIA V. THERIOT                   ABBEVILLE LA 70511                         TORIET@BROUSSARDBROTHERS.COM         Email
                                                                                   ATTN: CHRISTOPHER J. DEWAR, ESQ. WILLIAM
                                                                                   L. WALLANDER, ESQ. BRADLEY R. FOXMAN,
                                                                                   ESQ.
COUNSEL TO GOLDMAN SACHS BANK USA,                                                 TRAMMELL CROW CENTER                     CDEWAR@VELAW.COM
ADMINISTRATIVE AGENT UNDER THE FLFO CREDIT                                         2001 ROSS AVENUE SUITE 3700              BWALLANDER@VELAW.COM
AGREEMENT                                  VINSON & ELKINS LLP                     DALLAS TX 75201                          BFOXMAN@VELAW.COM                      First Class Mail and Email




        In re: Fieldwood Energy LLC, et al.
        Case No. 20-33948 (MI)                                                                Page 12 of 13
                                              Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 16 of 18
                                                                                                Exhibit A
                                                                                            Master Service List
                                                                                         Served as set forth below

                   DESCRIPTION                                 NAME                                   ADDRESS                                   EMAIL              METHOD OF SERVICE
                                                                                     ATTN: WILLIAM L. WALLANDER, BRADLEY R.
                                                                                     FOXMAN & MATTHEW J. PYEATT
COUNSEL TO GOLDMAN SACHS BANK USA,                                                   TRAMMELL CROW CENTER                     BWALLANDER@VELAW.COM
ADMINISTRATIVE AGENT UNDER THE FLFO CREDIT                                           2001 ROSS AVENUE, SUITE 3900             BFOXMAN@VELAW.COM
AGREEMENT                                  VINSON & ELKINS LLP                       DALLAS TX 75201                          MPYEATT@VELAW.COM                 Email
                                                                                                                              ALFREDO.PEREZ@WEIL.COM
                                                                                                                              BRENDA.FUNK@WEIL.COM
                                                                                                                              CLIFFORD.CARLSON@WEIL.COM
                                                                                                                              JUSTIN.PITCHER@WEIL.COM
                                                                                     ATTN: ALFREDO R. PEREZ                   RENE.OLVERA@WEIL.COM
                                                                                     700 LOUISIANA STREET                     CHRISTOPHER.JALOMO@WEIL.COM
PROPOSED COUNSEL TO THE DEBTORS AND                                                  SUITE 1700                               ERIN.CHOI@WEIL.COM
DEBTORS IN POSSESSION                          WEIL, GOTSHAL & MANGES LLP            HOUSTON TX 77002                         JAKE.RUTHERFORD@WEIL.COM          Email
                                                                                     ATTN: MATTHEW S. BARR, JESSICA LIOU
PROPOSED COUNSEL TO THE DEBTORS AND                                                  767 FIFTH AVENUE                         MATT.BARR@WEIL.COM
DEBTORS IN POSSESSION                          WEIL, GOTSHAL & MANGES LLP            NEW YORK NY 10153                        JESSICA.LIOU@WEIL.COM             Email
                                                                                     ATTN: JEFF CARRUTH
                                                                                     11 GREENWAY PLAZA
                                                                                     SUITE 1400
COUNSEL TO HALLIBURTON ENERGY SERVICES, INC. WEYCER, KAPLAN, PULASKI & ZUBER, P.C.   HOUSTON TX 77046                         JCARRUTH@WKPZ.COM                 Email
                                                                                     ATTN: JASON M. RUDD, SCOTT LAWRENCE
COUNSEL TO TANA EXPLORATION COMPANY, LLC                                             3131 MCKINNEY AVENUE, SUITE 100          JASON.RUDD@WICKPHILLIPS.COM
AND TC OIL LOUISIANA, LLC                      WICK PHILLIPS GOULD & MARTIN, LLP     DALLAS TX 75204                          SCOTT.LAWRENCE@WICKPHILLIPS.COM   Email
                                                                                     ATTN: Sean B. Davis, Steffen R. Sowell
                                                                                     600 Travis Street
                                                                                     Suite 5200                               SBDAVIS@WINSTEAD.COM
COUNSEL TO SM ENERGY COMPANY                   WINSTEAD PC                           HOUSTON TX 77002                         SSOWELL@WINSTEAD.COM              Email




        In re: Fieldwood Energy LLC, et al.
        Case No. 20-33948 (MI)                                                                 Page 13 of 13
Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 17 of 18




                             Exhibit B
                                            Case 20-33948 Document 1533-1 Filed in TXSB on 06/10/21 Page 18 of 18
                                                                                         Exhibit B
                                                                                 Fee Application Service List
                                                                                  Served as set forth below
                   NAME                                   NOTICE NAME                                  ADDRESS                      EMAIL               METHOD OF SERVICE
                                             ATTN: MICHAEL D. WARNER & BENJAMIN L.                                  MWARNER@COLESCHOTZ.COM;
COLE SCHOTZ P.C.                             WALLEN                                                                 BWALLEN@COLESCHOTZ.COM             Email
                                                                                                                    DAMIAN.SCHAIBLE@DAVISPOLK.COM;
                                             ATTN: DAMIAN S. SCHAIBLE, NATASHA                                      NATASHA.TSIOURIS@DAVISPOLK.COM;
                                             TSIOURIS, JOSHUA Y. STURM AND MICHAEL P. 450 LEXINGTON AVENUE          MICHAEL.PERA@DAVISPOLK.COM;        First Class Mail and
DAVIS POLK & WARDWELL LLP                    PERA                                     NEW YORK NY 10017             JOSHUA.STURM@DAVISPOLK.COM         Email
                                                                                                                    MDANE@FWELL.COM;
FIELDWOOD ENERGY LLC                         ATTN: MIKE DANE & TOMMY LAMME                                          TLAMME@FWELLC.COM                  Email
                                                                                         1221 MCKINNEY STREET,
                                             ATTN: CHARLES A. BECKHAM JR., AND           SUITE 4000                 CHARLES.BECKHAM@HAYNESBOONE.COM;   First Class Mail and
HAYNES AND BOONE, LLP                        MARTHA WYRICK                               HOUSTON TX 77010           MARTHA.WYRICK@HAYNESBOONE.COM      Email
                                                                                                                    STEPHEN.STATHAM@USDOJ.GOV;
                                                                                         515 RUSK AVE., STE. 3516   HECTOR.DURAN.JR@USDOJ.GOV;         First Class Mail and
OFFICE OF THE UNITED STATES TRUSTEE          ATTN: HECTOR DURAN, STEPHEN STATHAM         HOUSTON TX 77002           USTPREGION07.HU.ECF@USDOJ.GOV      Email
                                                                                                                    KHANSEN@STROOCK.COM;
                                                                                                                    FMEROLA@STROOCK.COM;
                                             ATTN: KRISTOPHER M. HANSEN, FRANK A.                                   JCANFIELD@STROOCK.COM;
                                             MEROLA, JONATHAN D. CANFIELD, SHERRY J.                                SMILLMAN@STROOCK.COM;
STROOCK & STROOCK & LAVAN LLP                MILLMAN & KENNETH PASQUALE                                             KPASQUALE@STROOCK.COM              Email
                                                                                                                    ALFREDO.PEREZ@WEIL.COM;
                                                                                                                    BRENDA.FUNK@WEIL.COM;
                                                                                                                    CLIFFORD.CARLSON@WEIL.COM;
                                                                                                                    JUSTIN.PITCHER@WEIL.COM;
                                                                                                                    RENE.OLVERA@WEIL.COM;
                                                                                                                    CHRISTOPHER.JALOMO@WEIL.COM;
                                                                                                                    ERIN.CHOI@WEIL.COM;
WEIL, GOTSHAL & MANGES LLP                   ATTN: ALFREDO R. PEREZ                                                 JAKE.RUTHERFORD@WEIL.COM           Email
                                                                                                                    MATT.BARR@WEIL.COM;
WEIL, GOTSHAL & MANGES LLP                   ATTN: MATTHEW S. BARR, JESSICA LIOU                                    JESSICA.LIOU@WEIL.COM              Email




      In re: Fieldwood Energy LLC, et al.
      Case No. 20-33948 (MI)                                                             Page 1 of 1
